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         Case Information

                SIWELL, INC. D/B/A CAPITAL M vs.                                                                                                  !"             !"   #
                BERTHELETTE, WILLIAM
                2018532364
                Location                                   Case Category                         Case Type                                Case Status
                Lubbock County - 99th District             Civil - Contract                      Debt/Contract -                          Open
                Court                                                                            Fraud/Misrepresentation




         Parties               3




              Type                                Name                                                              Attorneys

              Plaintiff                           SIWELL, INC. D/B/A CAPITAL M                                      KEITH THOMPSON

              Defendant                           WILLIAM BERTHELETTE

              Defendant                           LAND GORILLA, LLC




         Filings           5
                                   Newest First       Search in Filings                  $   ?


                                                                                                             File Date
              RQST - Request                                                                                 1/22/2019
              CIVIL PROCESS REQUEST - Capital Mortgage v. Berthelette and Land Gorilla

              Name                                       Description                         Security                    Pages    Price

              1.21.19 Civil Process Request              1.21.19 Civil Process Request       Does not contain            2        $0.20          Available
              Form.pdf                                   Form.pdf                            sensitive data                                      until 3/11/19



                                                                                                             File Date
              APLD - Amended Pleading                                                                        1/22/2019
              Plaintiff's First Amended Petition - Capital Mortgage v. Berthelette and Land Gorilla

              Name                                       Description                         Security                    Pages    Price

              1.18.19 Plaintiff's First Amended          1.18.19 Plaintiff's First Amended   Does not contain            6        $0.60                 + ADD
              Petition.pdf                               Petition.pdf                        sensitive data



                                                                                                             File Date
              RQST - Request                                                                                 9/25/2018
              Civil Process Request Form - CMS v. Berthelette

              Name                                       Description                         Security                    Pages    Price

              9.25.18 Civil Process Request              9.25.18 Civil Process Request       Does not contain            2        $0.20                 + ADD
              Form.pdf                                   Form.pdf                            sensitive data




1 of 2                                                                              LG-008                                                                                2/11/19, 12:21
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                                                                                                                   File Date
              INSH - Case Information Sheet                                                                        9/25/2018
              Case Information Sheet - CMS v. Berthelette

              Name                                          Description                             Security                   Pages   Price

              9.25.18 Civil Case Information                9.25.18 Civil Case Information          Does not contain           1       $0.10        + ADD
              Sheet.pdf                                     Sheet.pdf                               sensitive data



                                                                                                                   File Date
              PETN - Petition Filed                                                                                9/25/2018
              Plaintiff's Original Petition - CMS v. Berthelette

              Name                                          Description                             Security                   Pages   Price

              9.25.18 Plaintiff's Original Petition         9.25.18 Plaintiff's Original Petition   Does not contain           14      $1.40   Available
              [Final].pdf                                   [Final].pdf                             sensitive data                             until 2/25/19




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                                                                                                                     District Clerk
                                                                                                          Lubbock County, Texas


                                             CAUSE NUMBER _______________________
                                                              2018532364                                                MK

             SIWELL, INC. D/B/A CAPITAL MORTGAGE               §   IN THE DISTRICT COURT NO. _____
             SERVICES OF TEXAS                                 §
                   PLAINTIFF                                   §
             V.                                                §   OF
                                                               §
             WILLIAM BERTHELETTE                               §
                   DEFENDANT                                   §   LUBBOCK, TEXAS


                                                 PLAINTIFF’S ORIGINAL PETITION



             To the Honorable Judge of Said Court:

                       Now Comes, SIWELL, INC. D/B/A CAPITAL MORTGAGE SERVICES OF TEXAS, in the above

             numbered and styled cause, complaining of WILLIAM BERTHELETTE, and would respectfully show

             the Court as follows:

                                                     I. PARTIES AND VENUE

             1.        PLAINTIFF, SIWELL, INC., D/B/A CAPITAL MORTGAGE SERVICES        OF   TEXAS (“CMS”) is a

             Texas, for-profit corporation in good standing which conducts business in Lubbock, Texas.

             2.        DEFENDANT, WILLIAM BERTHELETTE, (“BERTHELETTE”) is an individual who may be

             served with service at 2473 Lake Road, Ridgeway, SC 29130.

             3.        Venue is proper in Lubbock County because a substantial part of the events or omissions

             giving rise to the claim occurred in Lubbock County, Texas.

                                                  II. DISCOVERY CONTROL PLAN

             4.        Discovery in this case will be conducted pursuant to Rule 190.2 of the Texas Rules of

             Civil Procedure (Level 2).




             PLAINTIFF’S ORIGINAL PETITION                                                              PAGE 1 OF 5
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                                             III. RELIEF AND EXPEDITED ACTION

             5.        CMS seeks only monetary relief of $100,000 or less, including damages of any kind,

             penalties, court costs, expenses, prejudgment interest, post-judgment interest, and attorney fees.

             Tex. R. Civ. P. § 47(c)(1).

             6.        Pursuant to Tex. R. Civ. P. §§ 47 and 169, this lawsuit is an Expedited Action.

                                                           IV. FACTS

             7.        On July 14, 2017, CMS hired BERTHELETTE as a contractor in the position of National

             Director of Retail Sales. Defendant executed an Engagement Agreement upon his acceptance of

             the position with Plaintiff on July 14, 2017. Engagement Agreement attached as Exhibit “A”.

             Plaintiff provided good and adequate consideration and agreed to provide Defendant with a

             generous salary, as well as other benefits. However, during his tenure with CMS, BERTHELETTE

             also took on a position with Land Gorilla, LLC (hereinafter known as “Land Gorilla”) and was

             working for both entities at the same time without the knowledge of the Plaintiff. Defendant

             collaborated and conspired with Land Gorilla for his own personal gain and persuaded CMS to

             use the services of Land Gorilla. Defendant thereby wrongfully capitalized upon the Plaintiff and

             failed to disclose the business relationship between he and Land Gorilla.

             8.        Further, Defendant improperly used CMS resources for his own personal financial gain

             and for the benefit of Land Gorilla.

                                                    V. UNJUST ENRICHMENT

             9.        Based on information and belief, BERTHELETTE derived a financial benefit from having

             CMS sign on and obtain services from Land Gorilla. Defendant was unjustly enriched when CMS

             agreed to obtain services from Land Gorilla at the prompting of Defendant.




             PLAINTIFF’S ORIGINAL PETITION                                                               PAGE 2 OF 5
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                                             VI. NEGLIGENT MISREPRESENTATION/ FRAUD

             10.       The Defendant violated the duty owed to the Plaintiff to exercise the ordinary care and

             diligence exercised by other professionals in the same or similar circumstances and was negligent

             in the misrepresentation of his business relationship and connection to Land Gorilla, LLC.

             Defendant intentionally failed to disclose this information to CMS and continued to capitalize on

             CMS by promoting Land Gorilla, LLC’s services to CMS and enticing CMS to do business with

             Land Gorilla. [“Intentionally” means actual awareness of the falsity, deception, or unfairness of

             the act or practice, or the condition, defect, or failure constituting a breach of warranty giving rise

             to the consumer's claim, coupled with the specific intent that the consumer act in detrimental

             reliance on the falsity or deception or in detrimental ignorance of the unfairness. Intention may

             be inferred from objective manifestations that indicate that the person acted intentionally or from

             facts showing that a defendant acted with flagrant disregard of prudent and fair business practices

             to the extent that the defendant should be treated as having acted intentionally]. Actual fraud

             involves a material misrepresentation, made either intentionally or recklessly, that was intended to

             be acted on, that was in fact relied on, that caused injury.

                                                  VII. BREACH OF FIDUCIARY DUTY

             11.       In the alternative to other counts, Plaintiff pleads for recovery under breach of fiduciary

             duty. Defendant, while an agent and fiduciary of CMS, collaborated with Land Gorilla, using

             CMS resources and time for his personal gain.


                                     VIII. FRAUDULENT INDUCEMENT/ DETRIMENTAL RELIANCE
             12.       Defendant made material representations to Plaintiff in relation to the services offered by
             Land Gorilla, LLC.              The representations were false.   At the time Defendant made the
             representations Defendant knew the representations were false.                 Defendant made the




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             representations with the intent that Plaintiff act on the representations, Plaintiff did act on the
             representations and the representation has caused the Plaintiff injury.


                                                       IX. BREACH OF CONTRACT

             13.       Plaintiff would show that Defendant has breached his contract with Plaintiff, specifically

             as set out as grounds for cause of termination in Paragraph 9 of the Engagement Agreement, to

             wit:

                                 “3). If Contractor shall breach any of the duties usually and customarily

                       owed by a Contractor to employer including but not limited to misappropriation of

                       funds or property, attempting to secure any personal profit not fairly disclosed to

                       Capital Mortgage, neglect of duties undertaken by Contractor hereunder or

                       engaging in conduct, publicly or privately, that is materially adverse to the interest

                       of Capital Mortgage in the sole discretion of the officers of Capital Mortgage.

                                 “4)         If Contractor is engaged in self-dealing whereby profits are

                       redirected from Capital Mortgage to personally benefit Contractor.”

                                                              X. DAMAGES

             14.       As a direct and proximate result of the Defendant’s misrepresentations and as set forth

             above, Plaintiff has suffered a substantial financial loss. Furthermore, the nature of Defendant’s

             conduct subjects them to the imposition of punitive damages.

                                                     XI. REQUEST FOR DISCLOSURE

             15.       Pursuant to Rule 194 of the Texas Rules of Civil Procedure you are requested to disclose,

             within 50 days of service of this request, the information or material described in Rule 194.2.




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                                                             XII. PRAYER

             16.       For these reasons, CMS asks the court to issue citation for WILLIAM BERTHELETTE to

             appear and answer, and that CMS be awarded judgment against WILLIAM BERTHELETTE for the

             following:

                       a.        Actual damages;

                       b.        Prejudgment interest and post-judgment interest as provided by law;

                       c.        Unliquidated damages;

                       d.        Costs of suit;

                       e.        Attorney’s fees pursuant to Tex. Civ. Prac. & Rem. Code §38.002; and

                       f.        Such other and further relief to which Plaintiff may be justly entitled.


                                                                Respectfully Submitted,

                                                                The Law Office of Keith C. Thompson, P.C.
                                                                11003 Quaker Avenue
                                                                Lubbock, Texas 79424
                                                                (806) 783-8322 (Telephone)
                                                                (806) 783-8357 (Telecopier)
                                                                SBN: 24013631
                                                                kct@kctlaw.us

                                                                /s/Keith C. Thompson
                                                                Keith C. Thompson
                                                                Attorney for Plaintiff




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